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                           UNITED STATES DISTRICT COURT FOR
                               THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                                   Case No.: 1:21-cr-00128-RC

              v.


WILLIAM ALEXANDER POPE,

                          Defendant .

                    Motion to Postpone April 3 Status Hearing

        At our March 3, 2023, status hearing, Judge Contreras set April 3, 2023, as the date for

our next status hearing. On March 4, 2023, I received a summons by mail from the Shawnee

County District Court to appear for jury duty on April 3, 2023. The summons establishes the

term of this jury service to be “one week, one trial, or until otherwise released.”

        I have included a copy of the summons as Exhibit 1, which I have submitted to the clerk

under seal since it includes my jury group and juror number.

        Since I have not yet been released from jury duty this creates a scheduling conflict akin to

being between a rock and a hard place1. My imaginative mind has not yet figured out a solution

for appearing before two different courts simultaneously, and since I would rather not be forced

to choose which honorable court to be held in contempt of for failure to appear, I am filing this

motion to postpone our April 3 status hearing until April 10 or later.




1
 For those working for the Department of Justice in Washington D.C. unfamiliar with metaphorical language
and/or adversity, “between a rock and a hard place” is a common phrase used to convey being trapped between
equally bad options. See Exhibit 2: https://rumble.com/v2f24e8-exhibit-between-a-rock-and-a-hard-place.html
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       I have inquired with Ms. Moran and Mr. Searby on their openness and availability.

Neither opposes a postponement. Mr. Searby is not available on April 11 and 12, and Ms. Moran

is not available while she is in trial the week of April 17.

       If selected for jury service, I believe the experience could enhance my understanding of

court processes and prove to be a useful perspective as I continue to defend myself against the

government’s accusations.

WHEREFORE I, William Alexander Pope, respectfully request my motion to postpone the April

3 status hearing be granted by this Honorable Court.


                                       Respectfully Submitted,




                                               By: William Pope




                                                  /s/
                                               William Pope
                                               Pro Se Officer of the Court




                                       Certificate of Service
 I certify that a copy of the forgoing was filed electronically for all parties of record on this 27th
                            day of March, in the year of our Lord, 2023.


                                               /s/
                                  William Alexander Pope, Pro Se
